           Case 1:21-cr-00330-JEB Document 19 Filed 01/31/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
          Plaintiff,

                     v.                       Criminal Case. No.: 21-330 (JEB)



JONATHAN J. MUNAFO,
         Defendant.



                            JOINT STATUS REPORT

      The parties jointly report the following.

           Status of Mr. Munafo’s Custody and W.D. Michigan Matter

      1.      Mr. Munafo remains in custody at the Newaygo County Jail in White

Cloud, Michigan.

      2.      His Western District of Michigan case, 21-CR-99 (JTN), has been

scheduled for trial on April 19, 2022, with a pretrial conference on April 5, 2022. Id.

ECF No. 41.

                 Status of Mr. Munafo’s Washington, D.C. Matter

      3.      The parties remain engaged in good faith plea negotiations and the

government continues to provide case-specific and general discovery as it becomes

available.

      4.      Defense counsel traveled to Washington, D.C., and viewed the Capitol

grounds on January 22, 2022, through a tour arranged by the government. The

defense team is in regular contact with Mr. Munafo through videoconferences.
           Case 1:21-cr-00330-JEB Document 19 Filed 01/31/22 Page 2 of 2




                      Joint Recommendation by the Parties

      5.      The parties jointly request that this Court continue this case for sixty

days from today, until Friday, April 1, 2022. During this time, the parties request

that the Speedy Trial Act, if applicable, be tolled.

      RESPECTFULLY SUBMITTED.

      Date: January 31, 2022

For the United States:                       For Jonathan Munafo:

Matthew M. Graves                            Eric Alexander Vos
United States Attorney                       Federal Public Defender,
D.C. Bar No. 481052                          District of Puerto Rico
                                             Franco Pérez-Redondo
/s/ Sean P. Murphy
                                             Assistant Federal Public Defender,
Assistant U.S. Attorney
                                             District of Puerto Rico
Detailee, Capitol Riot Prosecutions
D.C. Bar No. 1187821
                                             /s/ Kevin E. Lerman*
Torre Chardón, Suite 1201
                                             Research & Writing Attorney
350 Chardón Avenue
                                             241 F.D. Roosevelt Ave.
San Juan, PR 00918
                                             San Juan, PR 00918-2441
Tel. 787-766-5656
                                             Tel. (787) 281-4922, Fax (787) 281-4899
sean.murphy@usdoj.gov
                                             E-mail: Kevin_Lerman@fd.org



                                             * I HEREBY CERTIFY that on this date I
                                             e-filed this Notice using the CM/ECF
                                             system, which will send notification to all
                                             parties of record.




                                           -2-
